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                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION


In re:                                        )
                                              )
BRICE DAVID LITTON                            )       CASE NO 18-07459-RLM-7A
KATIE MARIE LITTON                            )
          Debtors.                            )

          TRUSTEE’S MOTION FOR TURNOVER OF PROPERTY OF ESTATE
                    AND NOTICE OF OBJECTION DEADLINE

         Comes Now Joanne B. Friedmeyer, the duly appointed Trustee herein, and for her

Motion for Turnover of Property of the Estate, would show the Court as follows:

         1.     Pursuant to 11 U.S.C. §542(a), the Debtor is required to deliver to the Trustee all

property of the estate which the Trustee may use.

         2.     The Trustee requests the Court order the turnover of the following documentation

and/or estate property:

         2018 State and Federal Tax Returns and any non-exempt refunds shown thereon.

         NOTICE IS GIVEN that any objection must be filed with the Bankruptcy Clerk within

21 days from date of service [or such other time period as may be permitted by pursuant to

Fed.R. Bankr.P. 9006(f)]. Those not required or not permitted to file electronically must deliver

any objection by U.S. mail, courier, overnight/express mail, or in person at:

                               Indianapolis
                           116 U.S. Courthouse
                              46 East Ohio St
                          Indianapolis, IN 46204


The objecting party must ensure delivery of the objection to the trustee. If an objection is NOT

timely filed, the requested relief may be granted.
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       WHEREFORE, pursuant to 11 U.S.C. §542, the Trustee requests the Debtor be ordered

to turn over the foregoing documentation and/or estate property, and grant such other relief as is

just and proper.


                                               /s/ Joanne B. Friedmeyer
                                               Joanne B. Friedmeyer (#10819-49)
                                               JOANNE B. FRIEDMEYER, P.C.
                                               9425 N Meridian Street #186
                                               Indianapolis, IN 46260
                                               Telephone:      (317) 755-3103
                                               Facsimile:      (317) 257-5676
                                               JFriedmeyer@FriedmeyerLaw.com

                                  CERTIFICATE OF SERVICE

       I hereby certify that on March 27, 2019 a copy of the foregoing was filed electronically.
Notice of this filing will be sent to the following parties through the Court’s Electronic Case Filing
System. Parties may access this filing through the Court’s System.

Office of the U.S. Trustee ustpregion10.in.ecf@usdoj.gov
Joseph B. Barker josephbb@yahoo.com

       I hereby further certify that on March 27, 2019 a copy of the foregoing was served upon
Brice David Litton
Katie Marie Litton
213 N. State Road 67 South
Martinsville, IN 46151

by United States first-class mail, postage prepaid.

                                               /s/ Joanne B. Friedmeyer
                                                 Joanne B. Friedmeyer (#10819-49)
                                                 JOANNE B. FRIEDMEYER, P.C.
                                                 9425 N Meridian Street #186
                                                 Indianapolis, IN 46260
                                                 Telephone: (317) 755-3103
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